                         Case 1-23-42510-jmm                Doc 1        Filed 07/18/23           Entered 07/18/23 16:46:38



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Future Present Productions, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA GUM Studios
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2-15 Borden Ave                                                 PO Box 200284
                                  Long Island City, NY 11101                                      Brooklyn, NY 11220
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Queens                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       gumstudios.nyc


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Future Present Productions, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    Future Present Productions, LLC                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,                                                                                                                      owner of 100%
     attach a separate list                          Debtor      Carrie White                                                  Relationship               of interests
                                                                 Eastern District of
                                                     District    New York                     When      3/03/23                Case number, if known      23-40748


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Future Present Productions, LLC                                             Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Future Present Productions, LLC                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 18, 2023
                                                  MM / DD / YYYY


                             X   /s/ Carrie White                                                         Carrie White
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Lewis W. Siegel                                                       Date July 18, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Lewis W. Siegel
                                 Printed name

                                 Lewis W. Siegel
                                 Firm name

                                 60 East 42nd Street - Suite 4600
                                 New York, NY 10165
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 286-0010                Email address      LWS@LWSEsq.com

                                  NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Future Present Productions, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 18, 2023                   X /s/ Carrie White
                                                           Signature of individual signing on behalf of debtor

                                                            Carrie White
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                      Case 1-23-42510-jmm                    Doc 1         Filed 07/18/23              Entered 07/18/23 16:46:38



 Fill in this information to identify the case:
 Debtor name Future Present Productions, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                             Check if this is an
                                                YORK
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Monarch Mgt Inc.                                    Rent                                                                                                      $900,000.00
 545 California Rd
 Bronxville, NY 10708
 Kaplon-Belo                                         Rent                                                                                                      $700,000.00
 Associates, Inc.
 37-30 Review Ave -
 Ste 101
 Long Island City, NY
 11101
 Con Edison                                          Utilities -         Disputed                                                                              $525,000.00
 JAF Station                                         4508 2nd Ave,
 PO Box 1702                                         Bklyn Front &
 New York, NY 10116                                  Rear; 172 44th St.,
                                                     Bklyn; 162 44th
                                                     St., Bkllyn, 2-15
                                                     Borden Ave, LIC
 CDM Realty LLC                                      Rent                                                                                                      $400,000.00
 4508 2nd Ave
 Brooklyn, NY 11232
 Flex Realty Holdings                                Rent                                                                                                      $340,000.00
 LLC
 162 44th Street
 Brooklyn, NY 11232
 1000 Dean Owner                                     alleged rent              Disputed                                                                        $296,000.00
 LLC                                                 damages
 c/o Meadow
 Partners
 430 Park Avenue,
 15th Floor,
 New York, NY 10022
 On Deck                                             Loan                      Disputed                                                                        $138,917.00
 4700 Daybreak
 Pkwy - Ste 200
 Sandy, UT 84090




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Future Present Productions, LLC                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 NY State Dept. of                                   estimated sales                                                                                              Unknown
 Tax &                                               taxes
 Finance - Insolvency
 Unit
 POB 5300
 Albany, NY 12205
 Balboa Capital                                      Loan                                                                                                        $58,464.00
 575 Anton Blvd -
 12th Fl
 Costa Mesa, CA
 92626
 NY State Dept. of                                   estimated sales                                                                                              Unknown
 Tax &                                               taxes
 Finance - Insolvency
 Unit
 POB 5300
 Albany, NY 12205
 NYC Dept. of                                        Taxes - Gen Corp.                                                                                            Unknown
 Finance
 Bankruptcy Section
 375 Pearl Street,
 30th Floor
 New York, NY 10038
 Pronar Realty, LLC                                  Rent                                                                                                        $22,000.00
 c/o Baudin Seldin
 337 Mason Blvd
 Staten Island, NY
 10309
 Small Business                                      Machinery,                                             $31,945.00                 $10,000.00                $21,945.00
 Continuity Fund                                     equipment,
 1 Liberty Plaza -                                   accounts,etc.
 11th Fl
 New York, NY 10006
 IFundExperts                                        Loan                      Disputed                                                                          $20,477.00
 12067 NW 76th PL
 Pompano Beach, FL
 33076
 National Grid                                       Utilities                                                                                                   $14,400.00
 PO Box 9040
 Hicksville, NY 11802
 Pearl Delta Funding                                 Loan                      Disputed                                                                            $9,621.00
 LLC
 525 Washington
 Blvd - 22nd Fl
 Jersey City, NJ
 07310
 LG Funding LLC                                      Loan                      Disputed                                                                            $8,854.00
 1218 Union St
 Brooklyn, NY 11225




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                      Case 1-23-42510-jmm                    Doc 1         Filed 07/18/23              Entered 07/18/23 16:46:38




 Debtor    Future Present Productions, LLC                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 NYC Dept. of                                        Taxes - Gen Corp.                                                                                            Unknown
 Finance
 Bankruptcy Section
 375 Pearl Street,
 30th Floor
 New York, NY 10038




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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 Fill in this information to identify the case:

 Debtor name            Future Present Productions, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        6,065,879.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        6,065,879.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,184,285.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           142,976.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,433,733.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,760,994.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Future Present Productions, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                              $1,500.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Chase                                             Checking                              5253                                    $54,803.00




          3.2.     Chase                                             Checking                              9305                                  $200,000.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $256,303.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     CDM Realty - Security deposit                                                                                                   $90,666.00


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor           Future Present Productions, LLC                                            Case number (If known)
                 Name




          7.2.     Flex Realty - security deposit                                                                                      $76,876.00




          7.3.     Kaplon-Belo - security deposit                                                                                      $40,000.00




          7.4.     Pronar Realty - security deposit                                                                                    $22,000.00




          7.5.     ConEd                                                                                                                $7,087.00




          7.6.     Monarch Mgmt                                                                                                        $61,697.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                        $298,326.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   386,250.00       -                                   0.00 = ....                $386,250.00
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                        $386,250.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor       Future Present Productions, LLC                                                Case number (If known)
             Name



19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Miscellaneous inventory
          and supplies                                                              Unknown           N/A                               $10,000.00




23.       Total of Part 5.                                                                                                          $10,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                                 Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of            Valuation method used   Current value of
                                                                         debtor's interest            for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Miscellaneous furniture                                                   Unknown                                             $10,000.00



40.       Office fixtures
          miscellaneous fixtures                                                    Unknown                                             $10,000.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Miscellaneous equipment                                                   Unknown                                             $10,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor       Future Present Productions, LLC                                           Case number (If known)
             Name



43.       Total of Part 7.                                                                                                          $30,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2019 Isuzu NQR NR354 VIN:
                   JALE5W160K7900693                                            Unknown                                              $85,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Film and media production rental equipment                       $6,362,954.00                                          $5,000,000.00



51.       Total of Part 8.                                                                                                    $5,085,000.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor        Future Present Productions, LLC                                             Case number (If known)
              Name

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Debtor has leases on
                    the properties listed
                    in Schedule G - it is
                    not known if any of
                    the leases could be
                    sold for any material
                    amount leases from
                    CDM and Monarch
                    may be for below
                    market rents                 Lease                                  $0.00                                                     $0.00




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Debtor may have a trademark in the name
           GUM                                                                          $0.00                                             Unknown



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Debtor has customer information in various
           lists maintained for operations - no believed
           commercial value in such lists                                               $0.00                                                     $0.00



64.        Other intangibles, or intellectual property

65.        Goodwill

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 5
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Debtor        Future Present Productions, LLC                                              Case number (If known)
              Name


66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities
           Debtor maintains insurance policies for : auto,
           workments comp; liability; property damage;                                                                                Unknown



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                            $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 6
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Debtor          Future Present Productions, LLC                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $256,303.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $298,326.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $386,250.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $10,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $30,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $5,085,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $6,065,879.00            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,065,879.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 7
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Fill in this information to identify the case:

Debtor name         Future Present Productions, LLC

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Grow America SBA                             Describe debtor's property that is subject to a lien                 $205,678.00             $5,000,000.00
      Creditor's Name                              Film and media production rental equipment
      PO Box 3918
      Portland, OR 97208
      Creditor's mailing address                   Describe the lien
                                                   Non-Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2019                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7002
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Grow America SBA
      2. SBA EIDL

      Isuzu Finance Company of
2.2                                                                                                                       $15,486.00                $85,000.00
      America                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              2019 Isuzu NQR NR354 VIN:
      2500 Westchester Avenue -                    JALE5W160K7900693
      Ste 312
      Purchase, NY 10577
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2019                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9841

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                         Case 1-23-42510-jmm                     Doc 1         Filed 07/18/23             Entered 07/18/23 16:46:38


Debtor       Future Present Productions, LLC                                                       Case number (if known)
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.3    SBA EIDL                                    Describe debtor's property that is subject to a lien                 $1,931,176.00          $5,000,000.00
       Creditor's Name                             Film and media production rental equipment
       PO Box 3918
       Portland, OR 97208
       Creditor's mailing address                  Describe the lien
                                                   Non-Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2020                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7409
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.1

       Small Business Continuity
2.4                                                                                                                          $31,945.00            $10,000.00
       Fund                                        Describe debtor's property that is subject to a lien
       Creditor's Name                             Machinery, equipment, accounts,etc.
       1 Liberty Plaza - 11th Fl
       New York, NY 10006
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2020                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0525
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.




                                                                                                                            $2,184,285.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
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Debtor     Future Present Productions, LLC                                                     Case number (if known)
           Name

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
                       Case 1-23-42510-jmm                     Doc 1          Filed 07/18/23                    Entered 07/18/23 16:46:38


Fill in this information to identify the case:

Debtor name        Future Present Productions, LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $42,347.00          Unknown
          NY State Dept. of Tax &                             Check all that apply.
          Finance - Insolvency Unit                              Contingent
          POB 5300                                               Unliquidated
          Albany, NY 12205                                       Disputed

          Date or dates debt was incurred                     Basis for the claim:
          last quarter 2022                                   estimated sales taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $61,529.00          Unknown
          NY State Dept. of Tax &                             Check all that apply.
          Finance - Insolvency Unit                              Contingent
          POB 5300                                               Unliquidated
          Albany, NY 12205                                       Disputed

          Date or dates debt was incurred                     Basis for the claim:
          1st quarter 2023                                    estimated sales taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 5
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Debtor       Future Present Productions, LLC                                                            Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $4,058.00   Unknown
          NYC Dept. of Finance                                 Check all that apply.
          Bankruptcy Section                                      Contingent
          375 Pearl Street, 30th Floor                            Unliquidated
          New York, NY 10038                                      Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022                                                 Taxes - Gen Corp.
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $35,042.00       Unknown
          NYC Dept. of Finance                                 Check all that apply.
          Bankruptcy Section                                      Contingent
          375 Pearl Street, 30th Floor                            Unliquidated
          New York, NY 10038                                      Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2021                                                 Taxes - Gen Corp.
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $296,000.00
          1000 Dean Owner LLC                                                    Contingent
          c/o Meadow Partners                                                    Unliquidated
          430 Park Avenue, 15th Floor,
                                                                                 Disputed
          New York, NY 10022
          Date(s) debt was incurred
                                                                             Basis for the claim:     alleged rent damages
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $58,464.00
          Balboa Capital                                                         Contingent
          575 Anton Blvd - 12th Fl                                               Unliquidated
          Costa Mesa, CA 92626                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Brian Penny                                                            Contingent
          36 Scofield Court                                                      Unliquidated
          Peekskill, NY 10566
                                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     None
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 5
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Debtor      Future Present Productions, LLC                                                 Case number (if known)
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $400,000.00
         CDM Realty LLC                                               Contingent
         4508 2nd Ave                                                 Unliquidated
         Brooklyn, NY 11232                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $525,000.00
         Con Edison                                                   Contingent
         JAF Station                                                  Unliquidated
         PO Box 1702
                                                                      Disputed
         New York, NY 10116
         Date(s) debt was incurred
                                                                                   Utilities -
                                                                   Basis for the claim:
                                                                   4508 2nd Ave, Bklyn Front & Rear; 172 44th St., Bklyn; 162 44th St.,
         Last 4 digits of account number   hers                    Bkllyn, 2-15 Borden Ave, LIC
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $340,000.00
         Flex Realty Holdings LLC                                     Contingent
         162 44th Street                                              Unliquidated
         Brooklyn, NY 11232                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $20,477.00
         IFundExperts                                                 Contingent
         12067 NW 76th PL                                             Unliquidated
         Pompano Beach, FL 33076
                                                                      Disputed
         Date(s) debt was incurred 1/23
                                                                   Basis for the claim:    Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $700,000.00
         Kaplon-Belo Associates, Inc.                                 Contingent
         37-30 Review Ave - Ste 101                                   Unliquidated
         Long Island City, NY 11101                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,854.00
         LG Funding LLC                                               Contingent
         1218 Union St                                                Unliquidated
         Brooklyn, NY 11225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $900,000.00
         Monarch Mgt Inc.                                             Contingent
         545 California Rd                                            Unliquidated
         Bronxville, NY 10708                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 5
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Debtor       Future Present Productions, LLC                                                        Case number (if known)
             Name

3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $14,400.00
          National Grid                                                        Contingent
          PO Box 9040                                                          Unliquidated
          Hicksville, NY 11802                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Utilities
          Last 4 digits of account number   3486;5208;2474
                                                                           Is the claim subject to offset?         No    Yes

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $138,917.00
          On Deck                                                              Contingent
          4700 Daybreak Pkwy - Ste 200                                         Unliquidated
          Sandy, UT 84090
                                                                               Disputed
          Date(s) debt was incurred 11/22
                                                                           Basis for the claim:    Loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $9,621.00
          Pearl Delta Funding LLC                                              Contingent
          525 Washington Blvd - 22nd Fl                                        Unliquidated
          Jersey City, NJ 07310
                                                                               Disputed
          Date(s) debt was incurred 12/22
                                                                           Basis for the claim:    Loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $22,000.00
          Pronar Realty, LLC                                                   Contingent
          c/o Baudin Seldin                                                    Unliquidated
          337 Mason Blvd                                                       Disputed
          Staten Island, NY 10309
                                                                           Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Kaufman Dolowich Voluck et al
          40 Exchange Place, 20th Floor                                                             Line     3.3
          New York, NY 10005
                                                                                                           Not listed. Explain

4.2       Lieberman and Klestzick LLP
          PO Box 356                                                                                Line     3.9
          Cedarhurst, NY 11516
                                                                                                           Not listed. Explain

4.3       Monarch Sales Ltd.
          545 California Rd                                                                         Line     3.10
          Bronxville, NY 10708
                                                                                                           Not listed. Explain

4.4       Rivkin Radler LLP
          477 Madison Avenue                                                                        Line     3.1
          New York, NY 10022
                                                                                                           Not listed. Explain




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
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Debtor      Future Present Productions, LLC                                             Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.5       Sticky Studios, LLC
          36 Scofield Court                                                            Line     3.3
          Peekskill, NY 10566
                                                                                              Not listed. Explain

4.6       The Klein Law Firm LLC
          PO Box 714                                                                   Line     3.13
          Lakewood, NJ 08701
                                                                                              Not listed. Explain

4.7       Triton Recovery Group
          19790 W Dixie Hwy - Ste 301                                                  Line     3.7
          Aventura, FL 33180
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                    142,976.00
5b. Total claims from Part 2                                                              5b.    +     $                  3,433,733.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    3,576,709.00




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 5
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Fill in this information to identify the case:

Debtor name        Future Present Productions, LLC

United States Bankruptcy Court for the:      EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           office and warehouse -
             lease is for and the nature of       4508 Second Avenue,
             the debtor's interest                Bklyn, NY

                State the term remaining          4 years
                                                                                    CDM Realty LLC
             List the contract number of any                                        4508 2nd Ave
                   government contract                                              Brooklyn, NY 11232


2.2.         State what the contract or           26,600 sq ft at 156-172
             lease is for and the nature of       44th Street, Bklyn, NY
             the debtor's interest

                State the term remaining          4 years
                                                                                    Flex Realty Holdings LLC
             List the contract number of any                                        162 44th Street
                   government contract                                              Brooklyn, NY 11232


2.3.         State what the contract or           11,000 sq ft at 156-172
             lease is for and the nature of       44th Street, Bklyn, NY
             the debtor's interest

                State the term remaining          2+ months
                                                                                    Flex Realty Holdings LLC
             List the contract number of any                                        162 44th Street
                   government contract                                              Brooklyn, NY 11232


2.4.         State what the contract or           premises at 2-15
             lease is for and the nature of       Borden Ave, LIC, NY
             the debtor's interest

                State the term remaining          9 months
                                                                                    Kaplon-Belo Associates, Inc.
             List the contract number of any                                        37-30 Review Ave - Ste 101
                   government contract                                              Long Island City, NY 11101




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 2
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Debtor 1 Future Present Productions, LLC                                         Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.5.      State what the contract or        premises at 4473 C 1st
          lease is for and the nature of    Avenue, Bklyn, NY
          the debtor's interest

             State the term remaining
                                                                         Monarch Mgt. Inc.
          List the contract number of any                                545 California Rd
                government contract                                      Bronxville, NY 10708


2.6.      State what the contract or        7,250 sq ft at 4473 A 1st
          lease is for and the nature of    Avenue, Bklyn, NY
          the debtor's interest

             State the term remaining       4 years
                                                                         Monarch Sales Ltd.
          List the contract number of any                                545 California Rd
                government contract                                      Bronxville, NY 10708


2.7.      State what the contract or        premises at 228 45th
          lease is for and the nature of    Street, Bklyn NY
          the debtor's interest

             State the term remaining       4 years                      Pronar Realty, LLC
                                                                         c/o Baudin Seldin
          List the contract number of any                                337 Mason Blvd
                government contract                                      Staten Island, NY 10309




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 2
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Fill in this information to identify the case:

Debtor name      Future Present Productions, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Carrie White                1251 NW 34th Ave                                          CDM Realty LLC                     D
                                      Cape Coral, FL 33993                                                                         E/F       3.4
                                                                                                                                   G




   2.2    Carrie White                1251 NW 34th Ave                                          Pronar Realty, LLC                 D
                                      Cape Coral, FL 33993                                                                         E/F       3.14
                                                                                                                                   G




   2.3    Carrie White                1251 NW 34th Ave                                          Flex Realty Holdings               D
                                      Cape Coral, FL 33993                                      LLC                                E/F       3.6
                                                                                                                                   G




   2.4    Carrie White                1251 NW 34th Ave                                          Monarch Mgt Inc.                   D
                                      Cape Coral, FL 33993                                                                         E/F       3.10
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Future Present Productions, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $2,145,898.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $8,896,417.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $7,670,679.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       Future Present Productions, LLC                                                Case number (if known)



      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.1.
             SBA EIDL                                          3/20. 4/20.                      $29,496.00           Secured debt
             PO Box 3918                                       5/20                                                  Unsecured loan repayments
             Portland, OR 97208
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.2.
             GAF SBA                                           3/1, 4/3. 5/1                    $18,733.00           Secured debt
             PO Box 3918                                                                                             Unsecured loan repayments
             Portland, OR 97208
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.3.
             Small Business Continuity Fund                    3/1, 4/3, 5/1                      $4,166.00          Secured debt
             1 Liberty Plaza - 11th Fl                                                                               Unsecured loan repayments
             New York, NY 10006
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.4.
             Balboa Capital                                    3/10, 4/10,                      $10,962.00           Secured debt
             575 Anton Blvd - 12th Fl                          5/10                                                  Unsecured loan repayments
             Costa Mesa, CA 92626
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.5.
             Pearl Delta Funding LLC                           taken from                       $99,000.00           Secured debt
             525 Washington Blvd - 22nd Fl                     account                                               Unsecured loan repayments
             Jersey City, NJ 07310                             4/28/23                                               Suppliers or vendors
                                                                                                                     Services
                                                                                                                      Other claimed account
                                                                                                                   receivable ownership

      3.6.
             LG Funding LLC                                    taken from                      $140,500.00           Secured debt
             c/o Lieberman and Klestzick LLP                   account                                               Unsecured loan repayments
             PO Box 356                                        4/28/23                                               Suppliers or vendors
             Cedarhurst, NY 11516                                                                                    Services
                                                                                                                      Other claimed account
                                                                                                                   receivable ownership

      3.7.
             IFundExperts                                      taken from                       $59,800.00           Secured debt
             12067 NW 76th PL                                  account                                               Unsecured loan repayments
             Pompano Beach, FL 33076                           4/28/23                                               Suppliers or vendors
                                                                                                                     Services
                                                                                                                      Other claimed account
                                                                                                                   receivable ownership




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Debtor       Future Present Productions, LLC                                                    Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Kaplan-Belo v. Debtor                     Landlord-Tenant             Supreme Court, Queens                         Pending
                                                                                   County                                        On appeal
                                                                                                                                 Concluded

      7.2.   Pearl Delta Funding LLC v.                Contract breach             Supreme Court, Queens                         Pending
             Debtor et al                                                          County                                        On appeal
             704536/2023
                                                                                                                                 Concluded

      7.3.   1000 Dean Owner LLC v.                    alleged rent                Supreme Court, Kings                          Pending
             Debtor et al                              damages                     County                                        On appeal
             504025/2023
                                                                                                                                 Concluded

      7.4.   Brian Penny & Sticky Studios              Pettition for               Supreme Court, Queens                         Pending
             pettition for dissolution of              dissolution of              County                                        On appeal
             Debtor                                    Debtor
                                                                                                                                 Concluded
             719754/2022

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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Debtor        Future Present Productions, LLC                                                     Case number (if known)



          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Lewis W. Siegel
               60 East 42nd Street - Suite
               4000                                                                                                    April - July
               New York, NY 10165                        Attorney Fees                                                 2023                     $37,903.00

               Email or website address
               LWS@LWSEsq.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


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Debtor        Future Present Productions, LLC                                                    Case number (if known)




          None.

              Who received transfer?                   Description of property transferred or                     Date transfer            Total amount or
              Address                                  payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     2-15 Borden Avenue                                                                                  3/15 - current
                Long Island City, NY 11101

      14.2.     4508 2nd Avenue                                                                                     1/18 - current
                Brooklyn, NY 11232

      14.3.     162 44th St.                                                                                        7/18 - current
                Brooklyn, NY 11232

      14.4.     147 43rd Street                                                                                     7/18 - current
                Brooklyn, NY 11232

      14.5.     225 45th Street                                                                                     8/22 - current
                Brooklyn, NY 11232

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Guideline 401 (k) Future Present Productions 401 (k) Plan - ID                      EIN: XX-XXXXXXX
                    #21D26232
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Debtor        Future Present Productions, LLC                                                    Case number (if known)




                    Has the plan been terminated?
                      No
                      Yes


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    Chase Merchant Sevices                   XXXX-5319                     Checking                 5/23/2023                                  $0.00
                                                                                      Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
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Debtor      Future Present Productions, LLC                                                    Case number (if known)



     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                           Court or agency name and              Nature of the case                            Status of case
      Case number                                          address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Candela and Associates, LLC                                                                                       10/20 - current
                    535 5th Ave,
                    New York, NY 10017
      26a.2.        Jezrael Salisbury                                                                                                 5/20 - current
                    c/o debtor


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26b.1.        Candela and Associates                                                                                            7/20 - current



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    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        debtor



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        American Express
                    200 Vesey Street
                    New York, NY 10285
      26d.2.        SBA EIDL
                    PO Box 3918
                    Portland, OR 97208
      26d.3.        LG Funding
                    1218 Union Street
                    Brooklyn, NY 11225
      26d.4.        On Deck
                    4700 Daybreak Pkwy - Ste 200
                    Sandy, UT 84090
      26d.5.        Pearl Capital
                    525 Washington Blvd - 22nd Fl
                    Jersey City, NJ 07310
      26d.6.        I Fund Experts
                    12067 NW 76th PL
                    Pompano Beach, FL 33076

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Carrie White                            c/o debtor                                          CEO                                       100%
                                                                                                                                            membership
                                                                                                                                            interests
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Ryan Roco                               c/o debtor                                          Vice President                            -0-




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in

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Debtor       Future Present Productions, LLC                                                    Case number (if known)



    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value
      30.1                                                                                                                          compensation
      .                                                                                                                             and
             Carrie White                                                                                                           reimbursement of
             c/o debtor                                $574,000                                                  various            expenses

             Relationship to debtor
             CEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 18, 2023

/s/ Carrie White                                                Carrie White
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                              Eastern District of New York
 In re       Future Present Productions, LLC                                                                  Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  $550/hour
             Prior to the filing of this statement I have received                                        $                 36,165.00
             Balance Due                                                                                  $                       TBD

2.    $     1,738.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
      e.    All services required in connection with the Chapter 11 case


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              .
                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     7/18/2023                                                                /s/ Lewis W Siegel
     Date                                                                     Lewis W. Siegel
                                                                              Signature of Attorney
                                                                              Lewis W. Siegel
                                                                              60 East 42nd Street - Suite 4600
                                                                              New York, NY 10165
                                                                              (212) 286-0010 Fax: 212-884-9586
                                                                              LWS@LWSEsq.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                             Eastern District of New York
 In re    Future Present Productions, LLC                                                                         Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Carrie White                                                                                                                 Membership Interests
1251 NW 34th Ave
Cape Coral, FL 33993


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date July 18, 2023                                                       Signature /s/ Carrie White
                                                                                        Carrie White

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               Eastern District of New York
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                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




Date:     July 18, 2023                           /s/ Carrie White
                                                  Carrie White/CEO
                                                  Signer/Title

Date: July 18, 2023                               /s/ Lewis W. Siegel
                                                  Signature of Attorney
                                                  Lewis W. Siegel
                                                  Lewis W. Siegel
                                                  60 East 42nd Street - Suite 4600
                                                  New York, NY 10165
                                                  (212) 286-0010 Fax: 212-884-9586




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                   1000 Dean Owner LLC
                   c/o Meadow Partners
                   430 Park Avenue, 15th Floor,
                   New York NY 10022

                   Balboa Capital
                   575 Anton Blvd - 12th Fl
                   Costa Mesa CA 92626

                   Brian Penny
                   36 Scofield Court
                   Peekskill NY 10566

                   Carrie White
                   1251 NW 34th Ave
                   Cape Coral FL 33993

                   CDM Realty LLC
                   4508 2nd Ave
                   Brooklyn NY 11232

                   Con Edison
                   JAF Station
                   PO Box 1702
                   New York NY 10116

                   Flex Realty Holdings LLC
                   162 44th Street
                   Brooklyn NY 11232

                   Grow America SBA
                   PO Box 3918
                   Portland OR 97208

                   IFundExperts
                   12067 NW 76th PL
                   Pompano Beach FL 33076

                   Isuzu Finance Company of America
                   2500 Westchester Avenue - Ste 312
                   Purchase NY 10577

                   Kaplon-Belo Associates, Inc.
                   37-30 Review Ave - Ste 101
                   Long Island City NY 11101

                   Kaufman Dolowich Voluck et al
                   40 Exchange Place, 20th Floor
                   New York NY 10005

                   LG Funding LLC
                   1218 Union St
                   Brooklyn NY 11225
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               Lieberman and Klestzick LLP
               PO Box 356
               Cedarhurst NY 11516

               Monarch Mgt Inc.
               545 California Rd
               Bronxville NY 10708

               Monarch Mgt. Inc.
               545 California Rd
               Bronxville NY 10708

               Monarch Sales Ltd.
               545 California Rd
               Bronxville NY 10708

               National Grid
               PO Box 9040
               Hicksville NY 11802

               NY State Dept. of Tax &
               Finance - Insolvency Unit
               POB 5300
               Albany NY 12205

               NYC Dept. of Finance
               Bankruptcy Section
               375 Pearl Street, 30th Floor
               New York NY 10038

               On Deck
               4700 Daybreak Pkwy - Ste 200
               Sandy UT 84090

               Pearl Delta Funding LLC
               525 Washington Blvd - 22nd Fl
               Jersey City NJ 07310

               Pronar Realty, LLC
               c/o Baudin Seldin
               337 Mason Blvd
               Staten Island NY 10309

               Rivkin Radler LLP
               477 Madison Avenue
               New York NY 10022

               SBA EIDL
               PO Box 3918
               Portland OR 97208

               Small Business Continuity Fund
               1 Liberty Plaza - 11th Fl
               New York NY 10006
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               Sticky Studios, LLC
               36 Scofield Court
               Peekskill NY 10566

               The Klein Law Firm LLC
               PO Box 714
               Lakewood NJ 08701

               Triton Recovery Group
               19790 W Dixie Hwy - Ste 301
               Aventura FL 33180

               Equifax Information
                Services LLC
               P.O. Box 740256
               Atlanta GA 30374

               Experian
               PO Box 2002
               Allen TX 75013

               TransUnion
               Post Office Box 2000
               Chester PA 19022
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                                           United States Bankruptcy Court
                                               Eastern District of New York
 In re   Future Present Productions, LLC                                               Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Future Present Productions, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 18, 2023                                    /s/ Lewis W. Siegel
Date                                             Lewis W. Siegel
                                                 Signature of Attorney or Litigant
                                                 Counsel for Future Present Productions, LLC
                                                 Lewis W. Siegel
                                                 60 East 42nd Street - Suite 4600
                                                 New York, NY 10165
                                                 (212) 286-0010 Fax:212-884-9586
                                                 LWS@LWSEsq.com
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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF NEW YORK


                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):           Future Present Productions, LLC                                  CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

   THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.: 23-40748         JUDGE: Jil Mazer-Marino         DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: Carrie White

CASE STILL PENDING (Y/N):            Y                 [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                         owner of 100% of interests

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:            JUDGE:            DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                              [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:            JUDGE:            DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                              [If closed] Date of closing:




                                                                 (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):     Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


/s/ Lewis W. Siegel
Lewis W. Siegel
Signature of Debtor's Attorney                                            Signature of Pro Se Debtor/Petitioner
Lewis W. Siegel
60 East 42nd Street - Suite 4600
New York, NY 10165
(212) 286-0010 Fax:212-884-9586                                           Signature of Pro Se Joint Debtor/Petitioner


                                                                          Mailing Address of Debtor/Petitioner


                                                                          City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                              Rev.8/11/2009
